
84 So. 3d 378 (2012)
Michael W. COLLINS, Jr., Appellant,
v.
STATE of Florida, Appellee.
No. 5D11-1787.
District Court of Appeal of Florida, Fifth District.
March 16, 2012.
James S. Purdy, Public Defender, and Ailene S. Rogers, Assistant Public Defender, Daytona Beach, for Appellant.
Pamela Jo Bondi, Attorney General, Tallahassee, and Anthony J. Golden, Assistant Attorney General, Daytona Beach, for Appellee.
PER CURIAM.
AFFIRMED. See Flagg v. State, 74 So. 3d 138 (Fla. 1st DCA 2011). We certify that the same issue reviewed in this case is currently pending before the Florida Supreme Court in State v. Adkins, 71 So. 3d 117 (Fla.2011). The mandate will be withheld pending final disposition of Adkins.
GRIFFIN, PALMER and JACOBUS, JJ., concur.
